Case: 1:09-cr-00419-SL Doc #: 201 Filed: 10/30/12 1 of 2. PageID #: 768




IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OHIO
EASTERN DIVISION

 ------------------------------------------------        .
 UNITED STATES OF AMERICA,                               : CASE NO. 1:09 CR 0419 - 4
                                                         :
                                             Plaintiff   :
                                                         :
                         -vs-                            : ORDER ADOPTING REPORT AND
                                                         : RECOMMENDATION
 MATTHEW RIOS                                            :
                                                         :
                                         Defendant       :
 ------------------------------------------------        .

UNITED STATES DISTRICT JUDGE LESLEY WELLS



         This matter was referred to United States Magistrate Judge Kenneth S.

McHargh for a supervised release violation hearing for the purpose of returning a

Report and Recommendation (R&R), pursuant to 28 U.S.C. § 636(b)(1)(B). Following a

hearing in which Mr. Rios was represented by counsel, Magistrate Judge McHargh

returned a recommendation that the defendant knowingly and voluntarily admitted the

supervised release violation presented in the violations report and recommended

imposing a 10 month period of incarceration in the custody of the U.S. Marshal with

credit for time served to be followed by no additional term of supervised release. (Doc.

194).
Case: 1:09-cr-00419-SL Doc #: 201 Filed: 10/30/12 2 of 2. PageID #: 769




         Neither party objected to Magistrate Judge McHargh's R&R. Any further review

by this Court would be a duplicative and inefficient use of the Court’s limited resources.

Thomas v. Arn, 474 U.S. 140 (1985); Howard v. Secretary of Health and Human

Services, 932 F.2d 505 (6th Cir. 1991); United States v. Walters, 638 F.2d 947 (6th Cir.

1981).

         Accordingly, this Court shall, hereby, adopt the Report and Recommendation

finding Mr. Rios has violated the terms of his supervised release and impose a 10

month period of incarceration in the custody of the U.S. Marshal to be followed by no

additional term of supervised release.



         IT IS SO ORDERED.

                                                    /s/Lesley Wells
                                                 UNITED STATES DISTRICT JUDGE

Date: 30 October 2012
